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 4
   Attorneys for Defendant
 5 KEN SARNA

 6
                                      IN THE UNITED STATES DISTRICT COURT
 7
                                     FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,                              CASE NO. 2:10-CR-0327-TLN
10
                                           Plaintiff,       STIPULATION AND ORDER CONTINUING
11                                                          JUDGMENT & SENTENCING DATE
                                v.
12                                                          DATE: SEPTEMBER 3, 2015
     KEN SARNA,                                             TIME: 9:30 A.M.
13                                                          JUDGE: TROY L. NUNLEY
                                           Defendant.
14

15
                                                        STIPULATION
16
             Plaintiff United States of America, by and through its counsel of record, and defendant Ken
17
     Sarna, by and through his counsel of record, hereby stipulate that the judgment and sentencing in the
18
     matter presently set for August 13, 2015, at 9:30 a.m. may be continued to September 3, 2015, at 9:30
19
     a.m. for a judgment and sentencing.
20
             The parties have stipulated that the current date for the imposition of judgment and sentencing
21
     may be continued to September 3, 2015, at 9:30 a.m.
22
             Proposed Presentence Report                                 completed
23
             Counsel’s written objections to the Presentence Report      completed
24
             Presentence Report shall be filed with the Court            completed
25
             Motion for Correction of the Presentence Report             August 20, 2015
26
     ///
27
     ///
28

      Stipulation to Continue Sentencing                     1
               Case 2:10-cr-00327-TLN Document 297 Filed 08/03/15 Page 2 of 2


 1          Reply, or Statement of Non-Opposition                       August 27, 2015

 2          Judgment and Sentencing Date                                September 3, 2015

 3

 4 IT IS SO STIPULATED.

 5 DATED: July 31, 2015                                  BENJAMIN B. WAGNER
                                                         United States Attorney
 6
                                                         /s/ Michele M. Beckwith
 7                                                       MICHELE M. BECKWITH
                                                         Assistant United States Attorney
 8
                                                         For the UNITED STATES OF AMERICA
 9

10 DATED: July 31, 2015                                  /s/ Joseph A. Welch
                                                         JOSEPH A. WELCH
11                                                       Attorney at Law
                                                         For defendant KEN SARNA
12

13
                                                   ORDER
14

15          IT IS SO FOUND AND ORDERED that for good cause appearing from the stipulation of the
16
     parties that the judgment and sentencing in this matter currently scheduled for 9:30 a.m. on August 13,
17
     2015, is continued to September 3, 2015, at 9:30 a.m. for judgment and sentence.
18

19 this 3rd day of August, 2015.

20

21

22                                                              Troy L. Nunley
                                                                United States District Judge
23

24

25

26

27

28

     Stipulation to Continue Sentencing                  2
